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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



CHARLES GRESHAM, et al.,

            Plaintiffs,
                                               Civil Action No. 1:18-cv-1900 (JEB)
   v.


ALEX M. AZAR II, et al.

            Defendants.


                                     EXHIBIT LIST

Exhibit A      Kentucky Health Approval, U.S. Dep’t of Health and Human Servs., Ctrs. for
               Medicare and Medicaid Servs. (Nov. 20, 2018).

Exhibit B      Letter of Aug. 31, 2012 from CMS Administrator Cindy Mann to Arkansas
               Governor Mike Beebe.

Exhibit C      Excerpts from Healthy Ind. Plan (HIP) 2.0 Section 1115 Demonstration Project
               Approval, U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and
               Medicaid Servs. (Jan. 27, 2015)

Exhibit D      Del. Diamond State Health Plan Section 1115 Demonstration Project Waiver List,
               U.S. Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs.

Exhibit E      Excerpts from Mont. Health and Economic Livelihood Partnership (HELP)
               Section 1115 Demonstration Plan Approval (Nov. 23, 2016)

               Excerpts from Mont. Basic Medicaid for Able-Bodied Adults Section 1115
               Demonstration Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs.
               for Medicare and Medicaid Servs. (Nov. 24, 2010)

Exhibit F      Okla. SoonerCare Section 1115 Demonstration Project Waiver List, U.S. Dep’t of
               Health and Human Servs., Ctrs. for Medicare and Medicaid Servs.

Exhibit G      Excerpts from Healthy Mich. Section 1115 Demonstration Project Approval, U.S.
               Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs. (Dec.
               30, 2013)

Exhibit H      Excerpts from Ark. Safety Net Benefit Program Section 1115 Demonstration
               Project Approval, U.S. Dep’t of Health and Human Servs., Ctrs. For Medicare
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              and Medicaid Servs. (Dec. 29, 2011)

Exhibit I     Excerpts from N.H. Health Prot. Program Premium Assistance Section 1115
              Demonstration Project Approval, U.S. Dep’t of Health and Human Servs., Ctr.
              for Medicare and Medicaid Servs. (June 23, 2015)

Exhibit J     Excerpts from TennCare II Medicaid Section 1115 Demonstration Approval, U.S.
              Dep’t of Health and Human Servs., Ctrs. for Medicare and Medicaid Servs. (June
              15, 2012)

Exhibit K     Or. Health Plan 2 Section 1115 Demonstration Project Approval Letter, U.S.
              Dep’t of Health and Human Servs. Ctrs. for Medicare and Medicaid Servs. (Oct.
              15, 2002)

Exhibit L     Letter from Demetrios Kouzoukas, Dep. Admin., Ctrs. for Medicare & Medicaid
              Servs., U.S. Dep’t of Health and Human Servs., to Allison Taylor, Medicaid Dir.,
              Ind. Family and Social Servs. Admin. (Feb. 1, 2018).
